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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 AML IP, LLC,

                Plaintiff,                              Case No. 6:22-cv-01262-ADA

        v.                                              JURY TRIAL DEMANDED

 AIRBNB, INC.,

                Defendant.


                             NOTICE OF ATTORNEY APPEARANCE

       Notice is hereby given that Melissa R. Smith of Gillam & Smith, LLP enters her appearance

on behalf of Defendant Airbnb, Inc. in this matter as counsel.

       Melissa R. Smith may receive all communications from the Court and from other parties

at Gillam & Smith, LLP, 303 South Washington Avenue, Marshall, Texas 75670; Telephone:

(903) 934-8450; Facsimile: (903) 934-9257; e-mail melissa@gillamsmithlaw.com.

Dated: February 7, 2023                      Respectfully submitted,


                                             By: /s/ Melissa R. Smith
                                             Melissa R. Smith
                                             State Bar No. 24001351
                                             GILLAM & SMITH, LLP
                                             303 South Washington Avenue
                                             Marshall, Texas 75670
                                             Tel: (903) 934-8450
                                             Fax: (903) 934-9257
                                             melissa@gillamsmithlaw.com




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM/ECF system on February 7, 2023.

                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith




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